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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  CITIZENS UNITED,

                       Plaintiff,

                v.                                 Civ. A. No. 21-2833 (ABJ)

  U.S. DEPARTMENT OF DEFENSE,

                       Defendant.



                     NOTICE OF SUBSTITUTION OF COUNSEL

      The Clerk of the Court will please enter the appearance of Assistant United States

Attorney Erika Oblea and withdraw the appearance of John Moustakas as counsel for

Defendant in the above captioned case.



Dated: February 10, 2022

                                         Respectfully submitted,

                                          /s/ Erika Oblea
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